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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 17-21397-CIV-ALTONAGA/Goodman

  MOROCCANOIL, INC.,

         Plaintiff,
  v.

  RIGOBERTO ACOSTA, et al.,

        Defendants.
  _____________________________/

                                                ORDER

         THIS CAUSE came before the Court on Plaintiff, Moroccanoil, Inc., and Defendants,

  Rigoberto Acosta, Made in Dade Trading LLC, and Terigo Sourcing’s Stipulation for Consent

  Judgment and Entry of Permanent Injunction [ECF No. 59], filed January 10, 2018. The parties

  inform the Court they have entered into a confidential settlement agreement. (See Stipulation 3).

         Moroccanoil has alleged it is the exclusive owner of USPTO Registration Nos.

  3,478,807; 3,684,909; and 3,684,910 (the “Morocconoil Trademarks”). (See id. 4). Moroccanoil

  and Acosta, Made in Dade Trading, and Terigo (together, the “Acosta Defendants”) have

  stipulated the Complaint [ECF No. 1] sufficiently pleads claims upon which relief may be

  granted against the Acosta Defendants for trademark counterfeiting and infringement and for

  false designation of origin and false representation. (See id.).

         The parties stipulate the Acosta Defendants, in connection with Defendants, Asimex

  International LLC and Asimex Global Operations, LLC (the “Asimex Defendants”), imported,

  offered, advertised, distributed and/or sold products that bore the Moroccanoil Trademarks but

  which were counterfeit and/or materially different than products authorized for sale by

  Moroccanoil. (See id.). The parties also stipulate Moroccanoil is entitled to a permanent
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  injunction against the Acosta Defendants and to recover damages, attorney’s fees and costs in the

  total amount of $3,552,331.66. (See id.). The parties have agreed to waive any right to appeal

  from the Consent Judgment and Permanent Injunction. (See id. 5–6).

         Accordingly, it is ORDERED AND ADJUDGED as follows:

             1. The above-captioned litigation (the “Action”) arises under the United States

                Lanham Trademark Act, 15 U.S.C. section 1051 et seq.

             2. The Court has original jurisdiction over the subject matter of the Action under 28

                U.S.C. sections 1331, 1367(a), and 1338(a), and 15 U.S.C. section 1121.

             3. The Court has personal jurisdiction over the Acosta Defendants.

             4. Venue is proper in this District under 28 U.S.C. sections 1391(b)(1) and (2).

             5. Judgment is hereby entered against the Acosta Defendants, jointly and severally,

                and in favor of Moroccanoil for the total amount of $3,552,331.66, which is

                comprised of Moroccanoil’s damages in the total amount of $3,168,132.83,

                attorney’s fees in the total amount of $366,077.00, and costs in the total amount

                of $18,121.83.

             6. The Acosta Defendants and all of their present and future subsidiaries, divisions,

                parents, officers, directors, owners, partners, agents, employees, successors,

                assignees, executors, trustees, receivers, conservators, or administrators are

                hereby enjoined from from directly or indirectly doing any of the following:

                    a. Importing, acquiring, purchasing, manufacturing, marketing, storing,

                        transporting,   transferring,   exporting,    distributing,   dealing   in,

                        hypothecating, brokering, offering for sale, or selling any Moroccanoil




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                         Products1 anywhere in the world; and

                     b. Causing, directing, or assisting any other person to import, acquire,

                         purchase, manufacture, market, store, transport, transfer, export, distribute,

                         deal in, hypothecate, broker, offer for sale, or sell any Moroccanoil

                         Products anywhere in the world.

             7. Other than as set forth herein, Moroccanoil and the Acosta Defendants shall each

                 bear their own attorneys’ fees, costs, and expenses incurred in this Action.

             8. This Consent Judgment and Permanent Injunction shall constitute the sole and

                 final judgment of all claims in the Action between Moroccanoil and the Acosta

                 Defendants.

             9. Moroccanoil and the Acosta Defendants have expressly waived any right to

                 appeal from this Consent Judgment and Permanent injunction.

         DONE AND ORDERED in Miami, Florida, this 11th day of January, 2018.




                                                           _________________________________
                                                           CECILIA M. ALTONAGA
                                                           UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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   For the purpose of this Consent Judgment and Permanent Injunction, “Moroccanoil Product” means all
  products of any nature that bear any Moroccanoil Trademark, whether or not genuine or authentic.


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